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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. Criminal No. 21-0507 (PLF)
STEPHANIE MARYLOU BAEZ,
Defendant.
)
ORDER

Defendant Stephanie Marylou Baez’s motion to continue trial is DENIED. See
Defendant Motion to Contiue [sic] Trial [Dkt. No. 120]. Whatever the President-elect may or
may not do with respect to some of those charged for their conduct at the Capitol on January 6,
2021, is irrelevant to the Court’s independent obligations and legal responsibilities under
Article III of the Constitution.

The bench trial will go forward as scheduled, beginning on December 3, 2024 at
10:00 a.m. in Courtroom 29 in the William B. Bryant Annex to the E. Barrett Prettyman
Courthouse at 333 Constitution Avenue N.W., Washington, D.C. 20001. See Third Amended

Scheduling Order [Dkt. No. 108].

SO ORDERED.

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PAUL L. FRIEDMAN
United States District Judge

DATE: uae
